                            Case 1:15-cv-00271-LY Document 88 Filed 01/30/17 Page 1 of 2


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                                       FOR THE WESTERN DISTRICT OF TEXAS
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                    INSURANCE COMPANY                                                                       JAN 3 0        2017

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                                      ADR MEMORANDUM TO CLERK OF COURT
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                                         REPORT OF APPOINTMENT AND FEES
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              ADR METHOD:             Mediation X                      Acae
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              TYPE OF CASE:

                  1.     Please check one of the following:
                         The case referred to ADR settled V
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                  2. My total fee and expenses were: $ tC)               (If you had no fees and expenses,
              please indicate if the case settled before ADR, OR if the ADR proceeding was conducted on a
              no-fee basis pursuant to order of the Court or agreement of the parties.)

                  Please list names, addresses and telephone numbers of all parties and all counsel of
              record:

          Phintiffs:                                               Defendants:
          Mr. George Edwards                                       Mr. Miles Kiaff
          Mr. Murtaza Sutarwalla                                   Mr. Casey Armstrong
          Edwards Sutarwalla, PLLC                                 Brown Sims
          1300 McGowen Street, Suite 270                           1177 West Loop South, Tenth Floor
          Houston, Texas 77004                                     Houston, Texas 77027
          832-717-2562                                             713-629-1580

          ADR Provider:
          Norman Roser
          Mediator
          Texas Bar No. 17279250
          3203 Mercer, Suite 200
          Houston, Texas 77027
          713-877-8585

                                                                   Signature:
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